           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                          CRIMINAL NO. 1:01CR48


UNITED STATES OF AMERICA                    )
                                            )
                                            )
            VS.                             )            ORDER
                                            )
                                            )
RICHARD DONNELL RUDISILL                    )
                                            )


      THIS MATTER is before the Court on Defendant’s pro se motion to

withdraw the Notice of Ineligibility regarding Crack Cocaine Offense filed by

appointed counsel on August 1, 2009. The motion is denied.

      Defendant states he was not notified of counsel’s decision to issue

the notice prior to its filing and that such notice “is not in his best interest”

in seeking a reduction of his sentence pursuant to Amendment 706 of the

Guidelines regarding cases involving crack cocaine convictions.

      However, counsel’s notice was filed one day after the Court’s entry of

the Order denying the Defendant a sentence reduction.1 See Order

      1
       Even though not considered before entering the Order, counsel’s
opinion that Defendant was ineligible for a sentence reduction was based
on the same grounds for which the Court determined to be applicable in
denying any reduction in Defendant’s prison term. See Notice of


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Regarding Motion for Sentence Reduction pursuant to 18 U.S.C. §

3582(c)(2), filed July 31, 2009 (“Amendment 706 provides no reduction

for cocaine base amounts in excess of 4.5 kilograms or more and this

case involves 9.1 kilograms of cocaine base.”).

     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

withdraw Notice filed by counsel is DENIED.

                                    Signed: August 14, 2009




Ineligibility for Reduced Sentence, filed August 1, 2009, ¶ 8.


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